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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

ASHLEY SEIJOS,


              Plaintiff,
                                                     Case No.: 6:17-CV-00611-CEM-KRS
v.

MONARCH RECOVERY
MANAGEMENT, INC., AND
DOES 1 TO 10,

           Defendants.
_________________________________/

       NOTICE IS HEREBY GIVEN that Plaintiff, Ashley Seijos, and Defendant, Monarch

Recovery Management, Inc., have settled all claims between them in this matter. The parties are

in the process of completing the final settlement documents and expect to file a Stipulated

Dismissal with Prejudice within the next forty (40) days. Plaintiff requests that the Court vacate

all pending deadlines and hearings in this matter. Plaintiff also requests that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement.

       RESPECTFULLY SUBMITTED this 1st day of November 2017.

                                                     /s/ Benjamin H. Crumley
                                                     Benjamin H. Crumley
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                                                  /s/ David A. Chami
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                                                  Attorneys for Plaintiff




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 1st day of November 2017, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to all counsel of record.



                                                  /s/ David A. Chami
                                                  David A. Chami, AZ #027585
                                                  Price Law Group, APC




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